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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,
      Plaintiffs,
              vs.
                                                        Case No. 3:23-cv-209-SPM
 KWAME RAOUL, et al.,
                                                        ** designated Lead Case
      Defendants.

 DANE HARREL, et al.,
      Plaintiffs,
              vs.
                                                        Case No. 3:23-cv-141-SPM
 KWAME RAOUL, et al.,
      Defendants.

 JEREMY W. LANGLEY, et al.,
      Plaintiffs,
              vs.                                       Case No. 3:23-cv-192-SPM
 BRENDAN KELLY, et al.,
      Defendants.

 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                                        Case No. 3:23-cv-215-SPM
              vs.
 JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.

                    STATE DEFENDANTS’ RULE 12(B)(6) MOTION TO
                    DISMISS FFL PLAINTIFFS’ DUE PROCESS CLAIMS

          Pursuant to Rule 12(b)(6), the defendants in Federal Firearms Licensees of Illinois v.

Pritzker, No. 3:23-cv-215 (“FFL”)—Governor JB Pritzker, Attorney General Kwame Raoul, and

Director of the Illinois State Police (“ISP”) Brendan Kelly (“State Defendants”)—respectfully

move this Court to dismiss two claims raised in the amended complaint recently filed in the FFL

action.

          1.     On November 2, 2023, the FFL plaintiffs filed an Amended Complaint for

Declaratory, Injunctive, and Other Relief (“Amended Complaint”). FFL ECF 55 (“Am. Compl.”).


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        2.      The Amended Complaint asserts that the Protect Illinois Communities Act, Public

Act No. 102-1116 (the “Act”), unconstitutionally infringes on plaintiffs’ rights and seeks relief

against the State Defendants based on three claims: (i) a Second Amendment claim against the

State Defendants regarding the Act’s restrictions on assault weapons and accessories, Am. Compl.

¶¶ 33-174, 199-205; (ii) a Fourteenth Amendment Due Process Clause claim due to allegedly

inadequate notice about the process for qualifying for an exemption allowing possession of

“grandfathered” assault weapons, id. ¶¶ 175-183, 199, 204 ¶ J; and (iii) a Fourteenth Amendment

Due Process Clause claim due to alleged vagueness in how the Act and its implementing

regulations define assault weapons, id. ¶¶ 175, 184-199, 204 ¶ J.

        3.      The State Defendants hereby request dismissal of the latter two of these three

claims—i.e., both due process claims—for failure to state a claim upon which relief can be granted.

        4.      “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although

the Court must accept as true the well-pleaded factual allegations in the complaint, the Court need

not credit legal conclusions, or “[t]hreadbare recitals of the elements of a cause of action, supported

by mere conclusory statements.” Id.

        5.      Plaintiffs’ inadequate notice claim fails as a matter of law for the reasons explained

in the State Defendants’ accompanying consolidated brief in Argument I.A, Section 2. Even if all

of plaintiffs’ factual allegations were taken as true, they have not stated a plausible claim that the

Act and its regulations provided insufficient notice of the possession restrictions and exemption

process for grandfathered assault weapons. Plaintiffs have therefore failed “to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6).



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       6.      Plaintiffs’ vagueness allegations fail to state a plausible claim too, for the reasons

explained in the State Defendants’ accompanying consolidated brief in Argument I.B. In

considering this motion to dismiss, the Court need not credit plaintiffs’ legal conclusions in the

complaint that certain terms are unconstitutionally vague. See Iqbal, 556 U.S. at 678. As a matter

of law, the Act’s definition of “assault weapon” and the related statutory terms plaintiffs challenge

are not unconstitutionally vague.

       For the foregoing reasons and those in the accompanying consolidated brief, the State

Defendants request the Court enter an order granting this motion and dismissing the FFL plaintiffs’

two Fourteenth Amendment Due Process Clause claims in their Amended Complaint for

Declaratory, Injunctive, and Other Relief (FFL ECF 55).

Date: December 1, 2023                                    Respectfully submitted,

                                                          KWAME RAOUL
                                                          Attorney General of Illinois

                                                          /s/ Christopher G. Wells

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                                                          Attorney General Raoul, and
                                                          ISP Director Kelly




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                             CERTIFICATE OF SERVICE
        I certify that on December 1, 2023, I caused a copy of the foregoing motion to be
electronically filed with the Clerk of the Court using the CM/ECF system, which will send
notification to all counsel of record.


                                               By: /s/Christopher G. Wells
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